    Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 1 of 31




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-cv-00424-RP
PURYEAR, KATHY KENNEDY,                    §
REBECCA JONES, RICHARD DAY,                §
CYNTHIA WARING, AND DIANE                  §
MOSTER,                                    §
                                           §
   Plaintiffs,                             §
                                           §
           v.                              §
                                           §
LLANO COUNTY, RON CUNNINGHAM, §
in his official capacity as Llano County   §
Judge, JERRY DON MOSS, in his official §
capacity as Llano County Commissioner,     §
PETER JONES, in his official capacity as   §
Llano County Commissioner, MIKE            §
SANDOVAL, in his official capacity as      §
Llano County Commissioner, LINDA           §
RASCHKE, in her official capacity as Llano §
County Commissioner, AMBER MILUM, §
in her official capacity as Llano County   §
Library System Director, BONNIE            §
WALLACE, in her official capacity as       §
Llano County Library Board Member,         §
ROCHELLE WELLS, in her official            §
capacity as Llano County Library Board     §
Member, RHONDA SCHNEIDER, in her           §
official capacity as Llano County Library  §
Board Member, and GAY BASKIN, in her §
official capacity as Llano County Library  §
Board Member,                              §
                                           §
   Defendants.                             §



          DECLARATION OF KENTON L. OLIVER IN SUPPORT OF
          PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 2 of 31




                     I, Kenton L. Oliver, declare:

                     1.      I make this declaration based on personal knowledge. If called upon to testify, I

            could and would testify competently to the following facts.

                     2.      I have served as a library director or assistant library director since 1981, and am

            the current Library Director for the Nashville Public Library (“NPL”) in Nashville, Tennessee, a

            position I have held since 2012.

                     A.      Summary of Opinions
                     3.      The books removed from the public library in Llano County are of interest and in
            demand for public library collections across the United States, and many of these books are

            currently in public library collections across the country, including the public library for which I

            am the Director.

                     4.      The books removed from the public library in Llano County have been found to

            have serious literary, artistic, political, or scientific value, as evidenced by the fact that they are

            in public library collections across the country and have received numerous professional awards

            and reviews.

                     5.      If Llano County officials removed or restricted access to these books because they

            disagreed with, disliked, or were offended by their content and/or subject matter, Llano County

            officials violated their own collection policies and American Library Association (“ALA”)
            professional standards by removing these books from library shelves and terminating access to

            more than 17,000 books in the County’s digital collection.

                     B.      Qualifications
                     6.      I have extensive experience as a director and senior manager in libraries of

            varying sizes located in diverse communities, including the following positions: Executive

            Director of the Stark County District Library in Canton, Ohio from November 2001 through May

            2012; Associate Director for Branch Services for the Johnson County Library in Overland Park,

            Kansas from September 1995 through October 2001; Library Director of the Olathe Public

            Library in Olathe, Kansas from March 1988 through August 1995; and Head of Public Services

                                                                1
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 3 of 31




            for the Daniel Boone Regional Library in Columbus, Missouri from September 1981 through

            March 1988. I was also a Reference Librarian for the Topeka Public Library in Topeka, Kansas

            from September 1977 through August 1981. A true and correct copy of my curriculum vitae is

            attached as Exhibit 1.

                     7.      I received a B.A. from Washburn University in Topeka, Kansas in 1977 and a

            Master of Library Science degree from Emporia State University in Emporia, Kansas in 1979.

                     8.      I am a frequent speaker at state and national library conferences and was a

            presenter at the Sharjah International Library Conference in 2019. I have also served as the

            president of two state library associations.

                     9.      I have also been a member of several associations focused on the principles that

            guide librarians in the profession, including the ALA, Freedom to Read Foundation, Urban

            Libraries Council, Ohio Library Council, Kansas Library Association, and the Missouri Library

            Association.

                     10.     I have extensive experience in developing library policies and procedures in

            conjunction with library boards and local government officials. I have experience in strategic

            planning, prioritization, and service analysis at many levels of library management. I have been

            successful in establishing formal service partnerships and collaborations with community groups,

            state and local political leaders, and government entities.
                     11.     I also have extensive experience in collection development for public libraries.

            Collection development is the process by which librarians select materials for the community

            that they serve.

                     C.      Guiding Principles and Professional Standards
                     12.     A common saying in my profession is that “communities build collections,”

            meaning that public libraries exist as a repository for all of the titles in demand by the

            community as a whole—not just those in demand by the most popular or loudest segments of the

            community. This principle guides my professional approach to collection development.



                                                              2
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 4 of 31




                     13.     The purpose of a public library is to provide members of the community with

            access to a wide and diverse range of materials and information. Community members utilize the

            public library to conduct research, gather news, read for pleasure, and interact with other

            community members. Outside the confines of school required reading, children are free to

            explore a wide array of books that will further enhance their joy of reading, develop critical

            thinking, and allow for a lifetime of intellectual growth.

                     14.     Digital collections have become a preferred mode of reading for many public

            library patrons. Digital resources also allow community members unable to physically visit the

            library to nonetheless have access to a broad range of audio and reading materials in their own

            homes.

                     15.     I am recognized nationally as a library leader through my participation in ALA’s

            executive board and committee levels. ALA is a non-profit organization committed to the

            preservation of the library as a resource indispensable to the intellectual, cultural, and

            educational welfare of the country. ALA also helps support libraries and librarians across the

            nation by drafting and publishing industry standards and best practices for the library profession.

            These guiding principles are set forth in ALA’s Library Bill of Rights, The Freedom to Read, and

            Access to Library Resources and Services for Minors. These documents speak to the importance

            of full and wide access to information in public libraries and the essential component of
            neutrality when building a well-rounded collection of all viewpoints in the community.

                     16.     The ALA’s Library Bill of Rights makes clear that censorship based on viewpoint

            violates the core value of preserving intellectual freedom. As set forth in the Library Bill of

            Rights, “[b]ooks and other library resources should be provided for the interest, information, and

            enlightenment of all people of the community the library serves” and “[m]aterials should not be

            excluded because of the origin, background, or views of those contributing to their creation.”

            Additionally, “[l]ibraries should provide materials and information presenting all points of view

            on current and historical issues” and “[m]aterials should not be proscribed or removed because of

            partisan or doctrinal disapproval.” Moreover, “[a] person’s right to use a library should not be

                                                              3
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 5 of 31




            denied or abridged because of origin, age, background, or views.” I reference and abide by the

            Library Bill of Rights in my own collection development decisions as Director of the Nashville

            Public Library, and recommend all public libraries adopt and incorporate the Library Bill of

            Rights into their written collection development policies. A true and correct copy of the Library

            Bill of Rights is attached as Exhibit 2.

                     17.     The ALA’s The Freedom to Read supports the principles of intellectual freedom

            embodied in the Library Bill of Rights. Pursuant to The Freedom to Read, “[i]t is in the public

            interest for publishers and librarians to make available the widest diversity of views and

            expressions, including those that are unorthodox, unpopular, or considered dangerous by the

            majority.” It continues that although “[p]ublishers, librarians, and booksellers do not need to

            endorse every idea or presentation they make available,” it “would conflict with the public

            interest for them to establish their own political, moral, or aesthetic views as a standard for

            determining what should be published or circulated.” Like countless other professionals in my

            field, I reference and am guided by The Freedom to Read in my own collection development

            decisions as Director of the Nashville Public Library. A true and correct copy of The Freedom to

            Read is attached as Exhibit 3.

                     18.     The ALA’s Access to Library Resources and Services for Minors clarifies that the

            profession’s commitment to providing access for all patrons includes the obligation to preserve
            intellectual freedom principles for minors as well as adults. Pursuant to Access to Library

            Resources and Services for Minors, “[l]ibrary policies and procedures that effectively deny

            minors equal and equitable access to all library resources and services available to other users”

            violate the Library Bill of Rights and librarians should “oppose[ ] all attempts to restrict access to

            library services, materials, and facilities based on the age of library users.” Instead, librarians

            “should maintain that only parents and guardians have the right and the responsibility to

            determine their children’s—and only their children’s—access to library resources.” Like many

            other professionals in my field, I reference and am guided by Access to Library Resources and

            Services for Minors in my own collection development decisions as Director of the Nashville

                                                               4
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 6 of 31




            Public Library. A true and correct copy of Access to Library Resources and Services for Minors

            is attached as Exhibit 4.

                     19.     These objective professional standards and established review procedures enable

            me and other public librarians to select materials in a neutral process that meets the diverse needs

            of our communities without interference from personal bias. As public librarians, we select

            materials for our collections that will be of interest to diverse community members, including

            materials focused on topics such as gender identity, sex, sexuality, and race. In making those

            selections, public librarians are aware of the laws that prohibit dissemination of material

            unprotected by the First Amendment and select materials of serious literary, artistic, political,

            and scientific value that would not meet the definition of obscenity. Part of our job as public

            librarians is to ensure that we are not choosing obscene material for library shelves.

                     20.     Public librarians also rely on legitimate book review sources, such as professional

            journals, established book reviewers, and award lists to ensure that we are employing

            professional standards in evaluating and selecting materials for our collections.

                     D.      Substantive Opinions
                     21.     It is my understanding that public officials in Llano County, Texas have removed

            several books from the public library collection and have terminated access to over 17,000

            digital books.

                             1.      Llano County’s Physical Collection
                     22.     It is my understanding that the books removed from Llano County’s physical

            collection include at least the following: (1) Caste: The Origins of Our Discontent by Isabel

            Wilkerson; (2) They Called Themselves the K.K.K: The Birth of an American Terrorist Group by

            Susan Campbell Bartoletti; (3) Spinning by Tillie Walden; (4) In the Night Kitchen by Maurice

            Sendak; (5) It’s Perfectly Normal: Changing Bodies, Growing Up, Sex and Sexual Health by

            Robie Harris; (6) a read-aloud picture book series including My Butt is So Noisy!, I Broke My

            Butt!, and I Need a New Butt! by Dawn McMillan; (7) a read-aloud picture book series including

            Larry the Farting Leprechaun, Gary the Goose and His Gas on the Loose, Freddie the Farting

                                                              5
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 7 of 31




            Snowman, and Harvey the Heart Has Too Many Farts by Jane Bexley; (8) Being Jazz: My Life

            as a (Transgender) Teen by Jazz Jennings; (9) Shine by Lauren Myracle; (10) Gabi, a Girl in

            Pieces by Isabel Quintero; and (11) Freakboy by Kristin Elizabeth Clark.

                     23.     I am familiar with these books and have examined their reviews in professional

            journals, established book review sources, and award lists, as I would typically do during my

            routine collection development process at the Nashville Public Library. Based on those reviews

            and award lists, it is my opinion that these books would be selected by public librarians for book

            collections across the country. In fact, a search in Worldcat, the largest online library catalog,

            demonstrates that these titles are held in library collections around the world and throughout the

            United States. A search of the Texas Group Catalog demonstrates that libraries throughout the

            state have these titles in their collections. Many of these books are also available in my own

            collection at the Nashville Public Library.

                     24.     It is also my opinion that the books that have been removed have serious literary,

            artistic, political, or scientific value, as demonstrated by the fact that they (i) are available in

            public library collections all over the country, many of which are in my own collection in the

            Nashville Public Library, (ii) are screened for obscenity by librarians across the country before

            they are added to such collections, (iii) they were screened, or should have been screened for

            obscenity by Llano County before they were shelved, and (iv) have received numerous
            professional reviews and awards. I am unaware of any public library that purchases obscene

            materials for its collection. Moreover, the fact that professional library journals and publishing

            journals have reviewed these books demonstrates that they are not obscene; such professional

            sources would not and do not review obscene materials.

                     25.      In Caste: The Origins of Our Discontent, Isabel Wilkerson, a Pulitzer Prize

            winning journalist, explores race and caste systems in India and Nazi Germany, and their hidden

            existence in the social order formed in the United States. The book is a New York Times

            Bestseller and has won numerous awards, including the National Book Award, the Los Angeles

            Times Book Prize. It was named the #1 Nonfiction Book of the Year by Time magazine. It was

                                                                6
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                       Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 8 of 31




            named as one of the best books of the year by a multitude of reviewers including Bloomberg, the

            Christian Science Monitor, the New York Times, Fortune magazine, and the Smithsonian

            magazine. This title has received starred reviews1 from Kirkus Reviews, Publisher’s Weekly,

            Library Journal, and Booklist. The Wall Street Journal praised the author for combining

            “impressive research…. with great narrative and literary power” and stated that her work

            “humanizes history, giving it emotional and psychological depth.” This book is available in my

            collection at the Nashville Public Library in print, eBook, and audiobook formats. Based on the

            subject matter, positive reviews and awards received by this author, it is my professional opinion

            that this title would be of interest and in demand for public library collections across the United

            States.

                      26.    In They Called Themselves the K.K.K: The Birth of an American Terrorist Group,

            Susan Campbell Bartoletti recounts how the K.K.K. was formed during the era of Reconstruction

            and focuses her narrative on the impact on the victims of the organization. The title has won

            numerous awards including being named an ALA Notable Book, the 2010 Kirkus Best Books for

            Teens, the 2011 Notable Books for a Global Society, and the School Library Journal Best

            Children’s Book of the year in 2010. The book was a Finalist Honor winner for the 2011 Young

            Adult Library Services Association’s Award for Excellence in Nonfiction. It also received

            starred reviews from Kirkus Reviews, Publisher’s Weekly, the Horn Book, Booklist, and the
            School Library Journal. The Horn Book called the book “[e]xemplary in scholarship,

            interpretation, and presentation.” Booklist stated that the author “writes in admirably clear,

            accessible language about one of the most complex periods in U.S. history” and that this title

            “should be required reading for young people as well as the adults in their lives.” This book is in

            my collection at the Nashville Public Library in print, eBook, and audiobook formats. Based on

            the subject matter, positive reviews and awards received by this author, it is my professional



            1
             A starred review is a designation by a professional library journal, publishing journal, or
            reviewer that indicates the high quality of the work.

                                                             7
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 9 of 31




            opinion that this title would be of interest and in demand for public library collections across the

            United States.

                     27.     Spinning by Tillie Walden is a memoir in which the author recounts her childhood

            in the world of competitive skating, her struggles with coming out as a homosexual, her

            experiences being bullied, and her sexual harassment by a male tutor. The author has won many

            awards including the New York City Public Library Notable Best Book for Teens, the Chicago

            Public Library Best Book of 2017, the 2018 YALSA Great Graphic Novel, the 2017 Booklist

            Youth Editor’s Choice, and the Eisner Award. It also has received many starred reviews,

            including from Kirkus Reviews, Publisher’s Weekly, and Booklist. Booklist called it a “stirring,

            gorgeously illustrated story of finding the strength to follow one’s own path” and Kirkus Reviews

            found it to be a “quiet powerhouse of a memoir.” The School Library Journal concluded that the

            book is “[a]n honest and intimate coming-of-age story that will be appreciated by tweens and

            young teens, especially those in competitive sports.” This book is in my collection at the

            Nashville Public Library in print and eBook formats. Based on the subject matter, positive

            reviews and awards received by this author, it is my professional opinion that this title would be

            of interest and in demand for public library collections across the United States.

                     28.     In the Night Kitchen by Maurice Sendak relates the dream fantasy of a little boy

            having a nighttime adventure in a bakers’ kitchen. The author has received many awards
            including being named the 1971 Caldecott Honor Book. The book was included in ALA’s

            Notable Children’s Books of 1940-1970, the New York Times Outstanding Children’s Books of

            1970, and the New York Times Best Illustrated Children’s Books of 1970. The title also has

            received numerous positive reviews. Booklist called it a “[p]ure delight for young children.”

            Kirkus Reviews found the illustrations to be “superb” and the main character “pure joy.”

            Common Sense Media concluded that the book was “[m]arvelous” and “so vividly drawn that

            readers almost live the dream, before returning safely to bed.” This book is in my collection at

            the Nashville Public Library in print and audiobook formats. Based on the positive reviews and



                                                              8
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                     Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 10 of 31




            awards received by this author, it is my professional opinion that this title would be of interest

            and in demand for public library collections across the United States.

                     29.     It’s Perfectly Normal: Changing Bodies, Growing Up, Sex and Sexual Health by

            Robie Harris is a comprehensive sex-education guide designed for pre-adolescent children and

            their parents. The author has received numerous awards, including being named an ALA Notable

            Book in 1995 and 1995 Best Book of the Year by the New York Times. The author was presented

            with the Boston Globe Horn Award and the book has been hailed as an important resource for

            teenagers by the School Library Journal, The Bulletin for the Center of Children’s Books, and

            Booklist. Publishers Weekly found the book to be “intelligent, amiable and carefully researched.”

            School Library Journal concluded that “[t]his frank, fresh consciousness-raiser not only gives

            readers of both sexes straight information about current or upcoming changes in their bodies and

            emotional landscapes, but also presents an exemplary argument for the idea that scientific

            knowledge is inextricably intertwined with every aspect of our lives.” This book is in my

            collection at the Nashville Public Library in print format. Based on the subject matter, positive

            reviews, and awards received by this author, it is my professional opinion that this title would be

            of interest and in demand for public library collections across the United States.

                     30.     Dawn McMillan’s read-aloud picture book series including My Butt is So Noisy!,

            I Broke My Butt!, and I Need a New Butt! Is exactly the type of series that would be selected by
            public librarians for their children’s room collection to encourage young children to read.

            Reluctant young readers that begin reading books with funny themes at a young age are more

            likely to become captivated by books and continue reading as they grow older. This series is

            highly rated on GoodReads. A book in this series is in my collection at the Nashville Public

            Library in print format. Based on the reviews, it is my professional opinion that this is a series

            that would be of interest for a public library children’s room collection.

                     31.     Jane Bexley’s read-aloud picture book series including Larry the Farting

            Leprechaun, Gary the Goose and His Gas on the Loose, Freddie the Farting Snowman, and

            Harvey the Heart Has Too Many Farts also would be included in a children’s room collection.

                                                              9
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                     Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 11 of 31




            Books with funny themes motivate children to become interested in books and reading, and to

            develop a lifelong love for reading and learning. This series is highly rated on GoodReads. It is

            my professional opinion that this is a type of picture book series would be of interest for a public

            library children’s room collection.

                     32.     Being Jazz: My Life as a (Transgender) Teen by Jazz Jennings is a memoir

            recounting the young author’s coming out as transgender, her transition, and her activism on

            behalf of transgender youth. The author has received many awards including Equality Florida’s

            “Voice for Equality” Award and the Harvey Milk and Pride Center’s Diversity Honors Youth

            Award in 2015. The book was included in the 2017 Rainbow List for Young Adult Nonfiction.

            Jazz Jennings was named as one of Time magazine’s Most Influential Teens for 2014-2015 and

            Huffington Post’s 14 Most Fearless Teens of 2014. The title has had numerous positive reviews.

            Booklist stated that the story is “an important addition to the slender but growing body of

            transgender literature and belongs in every library.” This book is available in my collection in the

            Nashville Public Library in print, eBook, and audiobook formats. Based on the subject matter,

            positive reviews, and awards received by this author, it is my professional opinion that this title

            would be of interest and in demand for public library collections across the United States.

                     33.     Shine by Lauren Myracle is a novel in which the main character who has been

            isolated from friends for several years after being sexually assaulted reenters the world to solve
            the mystery of who brutally beat her best friend in a gay-bashing incident. The author has

            received numerous positive reviews. Kirkus Reviews called the title “[r]aw, realistic and

            compelling.” The Los Angeles Times found it to be “[d]ramatic in both content and presentation.”

            School Library Journal found that “Myracle captures well the regret that many feel for things in

            their past about which they are ashamed” and that the main character’s “reflections on these

            moments are spot-on.” The book was awarded the Amelia Elizabeth Walden Award for young

            adult fiction and was included in the YALSA 2014 Popular Paperbacks for Young Adults. This

            book is available in my collection in the Nashville Public Library in print and eBook formats.

            Based on the subject matter, positive reviews, and awards received by this author, it is my

                                                             10
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                     Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 12 of 31




            professional opinion that this title would be of interest and in demand for public library

            collections across the United States.

                     34.     Gabi, a Girl in Pieces by Isabel Quintero is a novel whose main character is a

            young Mexican American girl living in a bicultural and bilingual community. The author has

            received numerous positive reviews. Kirkus Reviews found it to be a “fresh, authentic and honest

            exploration of contemporary Latina identity.” The Horn Book concluded that “[b]listeringly

            honest diary entries mix with poetry to create a beautifully distinct and powerful voice.” The

            novel has won numerous awards including the William C. Morris Award for Young Adult Debut

            Novel, the School Library Journal Best Books of 2014, YALSA Best Fiction for Young Adults,

            and the Booklist Best Books of 2014. This book is available in my collection in the Nashville

            Public Library in print, eBook, and audiobook formats. Based on the subject matter, positive

            reviews, and awards received by this author, it is my professional opinion that this title would be

            of interest and in demand for public libraries’ collections across the United States.

                     35.     Freakboy by Kristin Elizabeth Clark is a novel that explores the challenges of

            growing up transgender. The author has received many positive reviews and accolades. For

            example, the School Library Journal found that the author “succeeds in conveying the message

            that ‘you are not alone’ to transgender youth while helping everyone else get a handle on these

            often-tortured teens.” Publishers Weekly found the book to be “a gripping story about a complex
            topic.” Horn Book concluded that the book is a “sincere, profound rendering of sexuality,

            queerness, and identity.” This book is available in my collection the Nashville Public Library in

            eBook format. Based on the subject matter and positive reviews received by this author, it is my

            professional opinion that this title would be of interest and in demand for public library

            collections across the United States.

                     36.     If Llano County public officials removed these books because they disagreed with

            or were offended by the viewpoints expressed in those books, it is my professional opinion that it

            constitutes censorship in violation of basic intellectual freedom principles and ALA professional

            standards. This type of censorship violates the basic tenets and purposes of public libraries,

                                                             11
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                     Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 13 of 31




            which exist to serve communities with diverse viewpoints and values and give those

            communities broad and unrestricted access to diverse information and ideas.

                     37.     Additionally, it is my understanding that Llano County’s library collection

            policies incorporated the ALA’s Library Bill of Rights. If Llano County public officials removed

            these books because they conflicted with their personal beliefs, such action would violate the

            County’s own collection policies in addition to professional best practices and suggest improper

            motivation and viewpoint decision-making with respect to the library collection.

                     38.     It is also my understanding that Llano County public officials removed books

            from the children’s room and placed those books on adult shelves. It is my opinion that the

            removal of these books to other areas of the library also violates basic intellectual freedom

            principles and violates the principles of ALA’s Library Bill of Rights and Access to Library

            Resources and Services for Minors, which recognize that minors should have the right to equal

            access to library materials and should be restricted only by their own parents. Children and their

            parents should have the opportunity to browse shelves and discover books of interest to them that

            have been chosen by library professionals as appropriate selections for a children’s room or

            young adult section of the library without having to search for books that have been removed to

            another area of the library.

                             2.      Llano County’s Digital Collection
                     39.      It is also my understanding that Llano County public officials terminated patrons’

            access to over 17,000 digital books to prevent all patrons from accessing two books that the

            public officials disagreed with but could not remove from the digital collection: (1) Lawn Boy by

            Jonathan Evison; and (2) Gender Queer by Maia Kobabe.

                     40.     I am familiar with these two books and have examined their reviews in

            professional journals, established book review sources, and award lists. It is my opinion these

            books would be selected by public librarians for book collections throughout the United States.

            A search in Worldcat, the largest online library catalog, demonstrates that these titles are held

            in library collections around the world and throughout the United States. A search of the Texas

                                                             12
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 14 of 31




            Group Catalog demonstrates that libraries throughout the state have these titles in their

            collections. These two books are in my collection in the Nashville Public Library.

                      41.    It is also my opinion that neither of these books comes anywhere close to being

            obscene for the same reasons I stated above. They have serious literary, artistic, and political

            value, as demonstrated by the fact that they (i) are available in public library collections all over

            the country, including in my own collection in the Nashville Public Library, (ii) are screened for

            obscenity by librarians across the country before they are added to such collections, and (iii)

            have received numerous professional reviews and awards. I am unaware of any public library

            that purchases obscene materials for its collection. Moreover, the fact that professional library

            journals and publishing journals have reviewed and praised these books demonstrates that they

            are not obscene; such professional sources would not and do not review obscene materials.

                      42.    Lawn Boy by Jonathan Evison is a coming-of-age story about a biracial young

            man that has received numerous positive reviews. For example, the School Library Journal

            called it a novel that “takes on tough issues such as race, sexual identity, and the crushing weight

            of American capitalism” and urged librarians to “[g]ive this flawed but exciting coming-of-age

            story to teens eager to engage with heavy and political issues.” Kirkus Reviews called it a “book

            about triumphing over obstacles, and obstacles, and obstacles, and more obstacles.” Lawn Boy

            has received the Alex Award from the Young Adult Library Services Association and was a
            Booklist 2018 Editors Choice. This book is available in my collection in the Nashville Public

            Library in print, eBook, and audiobook formats. Based on the subject matter, positive reviews,

            and awards received by this author, it is my professional opinion that this title would be of

            interest and in demand for public library collections across the United States.

                      43.    Gender Queer by Maia Kobabe is a graphic memoir2 about gender and sexuality

            from the perspective of someone who is nonbinary and asexual. The author has received

            numerous awards and accolades including the Alex Award in 2020, ALA YALSA Best Books of


            2
                A “graphic” memoir or novel is a story told in comic book format rather than traditional prose.

                                                              13
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 15 of 31




            2020, Chicago Public Schools Great Graphic Novels in 2021, Denver Public Schools Top 100

            High School Books for 2020-21, Iowa High School Battle of the Books in 2021. The title was

            named as recommended reading for Jefferson County, Kentucky Public Schools for high school

            students. The Texas Library Association named it as a title for their Maverick Graphic Novel

            Reading List in 2020. It also has received numerous positive reviews. School Library Journal

            called it a “great resource for those who identify as nonbinary or asexual as well as for those who

            know someone who identifies that way and wish to better understand.” This book is available in

            my collection in the Nashville Public Library in print and eBook formats. Based on the subject

            matter, positive reviews, and awards received by this author, it is my professional opinion that

            this title would be of interest and in demand for public library collections across the United

            States.

                      44.    It is my opinion that the removal of 17,000+ digital books and materials from

            patron access because of the inability to remove Lawn Boy and Gender Queer from the catalog

            violates basic intellectual freedom principles and ALA’s professional standards. This type of

            censorship violates the basic tenets and purposes of public libraries, which exist to serve

            communities with diverse viewpoints and values and give those communities broad and

            unrestricted access to diverse information and ideas. Moreover, digital resources have become a

            primary means of access to public library materials for library patrons, particularly for the
            elderly, persons with physical disabilities, and persons with limited financial resources who may

            not have the means for frequent visits to the library.

                      E.     Conclusion
                      45.    In sum, my expert opinions are as follows: (1) the books removed in Llano

            County would be and are of interest and in demand for public library collections across the

            United States; (2) they have serious literary, artistic, political, or scientific value; and (3) Llano

            County officials would have violated their own policies as well as professional standards and

            best practices by removing or restricting access to these books and by terminating the County’s



                                                              14
DocuSign Envelope ID: BD92A2D4-599D-4E9B-88F2-A7E2FB34505E
                     Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 16 of 31




            digital collection if they made these decisions because they disagreed with, disliked, or were

            offended by the viewpoints contained within these books.

                     46.     I am not being paid to offer my expert opinions in this case.


                     I swear under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct to the best of my knowledge.



            Dated: May 5, 2022                               By:
                                                                    Kenton L. Oliver




                                                               15
Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 17 of 31




           EXHIBIT 1
      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 18 of 31


                                     Kenton L. Oliver
                                    kentoliver@msn.com




QUALIFICATIONS

•   A proven national leader in the library field
•   Extensive experience as a director and senior manager in libraries of varying sizes
    located in diverse communities
•   Skilled in the areas of advocacy, strategic planning, collaborative thinking, fiscal
    accountability, policy development, facility planning and public service
•   Involved in library policy planning nationally with a keen understanding of challenges
    facing libraries

EMPLOYMENT HISTORY

Library Director                                                June 2012 – current
Nashville Public Library
Nashville, Tennessee
NPL serves the Nashville-Davidson County Metropolitan area of 690,000 citizens with 21
locations, a staff of 390 and an operating budget of approximately $34,000,000. NPL is
recognized nationally and internationally for its innovative collaborations and programs in the
areas of civil rights, voter rights, literacy, and education. In 2017 NPL received the
Gale/Cengage Library of the Year Award presented by Library Journal.

Executive Director                                             November 2001 – May 2012
Stark County District Library
Canton, Ohio
SCDL serves an area of 250,000 residents through 10 locations and mobile services. The
current fiscal year budget is $14 million with a staff of nearly 245. In 2008 the circulation for
the system topped four million items. Library strategic priorities include literacy, computer
training and job assistance. The library consistently receives high rankings in its Hennen’s
American Public Library Rating category and is a three-time Library Journal Five Star
Library. In 2009 SCDL was awarded the National Medal for Museum and Library Service by
the Institute of Museum and Library Services.

Associate Director for Branch Services                         September 1995 – October 2001
Johnson County Library
Overland Park, Kansas
JCL is a county library system with 13 facilities at this time serving 400,000 in the Kansas
City Metropolitan area. The 2001 budget was more than $18 million. Served in the capacity
of the Assistant Director for Branch Services, a 12-branch division of the library with 100
FTE and a division budget of $4.4 million. As a member of the JCL Administrative
leadership team, oversaw an extensive library building program and provided leadership for
the development of library services.
      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 19 of 31

Kenton L. Oliver, Continued

Library Director                                               March 1988 – August 1995
Olathe Public Library
Olathe, Kansas
OPL provided library service to the fastest growing city in Kansas and a suburb of Kansas
City.

Head of Public Services                                   September 1981 – March 1988
Daniel Boone Regional Library
Columbia, Missouri

Reference Librarian                                      September 1977 – August 1981
Topeka Public Library
Topeka, Kansas

AREAS OF EXPERIENCE

Leadership:
• Director of large public library systems serving culturally and economically diverse
   communities.
• Led a library through two successful library levy campaigns during challenging economic
   times.
• Has spearheaded the expansion of library services through new buildings and renovations.
• Recognized nationally as a library leader through participation at executive board and
   committee levels in the American Library Association. A frequent library program
   presenter at the state and national levels.
• Served as President of two state library associations as well as participating on numerous
   committees.
• Board member of bi-state metropolitan library network and other nonprofit organizations.
• Three-time President of a national foundation which defends intellectual freedom and the
   First Amendment.
• Numerous professional presentations nationally and internationally including the Sharjah
   International Library Conference in 2019.

Policy Development:
• Extensive experience in developing library policies and procedures as a library director
   working with a library board and local government officials.
• Expertise in creating solutions to complex library service issues working in tandem with
   the library administrative team.
• Experience in strategic planning, prioritization, and service analysis at many levels of
   library management.
• Successful in establishing formal service partnerships and collaborations with community
   groups, state and local political leaders and government entities.

Budget Experience:
• Extensive experience in the development and oversight of library budgets in collaboration
  with staff and library board. Experience ranges from library division budgets of $4
  million to library system budgets more than $34 million.
• Provided budget oversight as a board member of a national association (American Library
  Association) on its budget review committee with a budget approaching $50 million.
                                             2
      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 20 of 31

Kenton L. Oliver, Continued

Library Technology:
• Current and previous libraries have employed integrated library systems including CarlX,
   Innovative Interfaces and Dynix. Held sole or shared responsibility for decisions made in
   the development of those systems.
• Experience with the development of library Internet services, Website presence, social
   media and policies relating to those services.

Government Relations:
• Extensive experience in working with local, federal and state elected officials regarding
  library policy issues.
• Developed a leadership program for public officials in conjunction with an area Chamber
  of Commerce.
• Strong communication skills include the development of information packages,
  documents and information for City Council Members, County Commission Members,
  State Legislators and Federal Officials regarding public library budgets and services.
• Extensive experience in public speaking which includes presentations to governmental
  officials and at library events.

EDUCATION
Master of Library Science
 Emporia State University, Emporia, Kansas, June 1979

Bachelor of Arts
 Washburn University, Topeka, Kansas, May 1977

PROFESSIONAL ORGANIZATIONS

Freedom to Read Foundation
 President, 2009 - 2012
 Board member, 2004 - 2012

American Library Association
 Presidential Nominee, 2009
 Public Library Association Presidential Nominee, 2020
 Member of Executive Board, 2001 - 2004
 Kansas Chapter Councilor, 1995 - 2001
 Member and chair of numerous committees

Urban Libraries Council
 Member, current

Ohio Library Council
 Member, 2001 - 2012

Kansas Library Association
 Legislative Committee Chair, 1997 - 1999
 President, 1992
 Member, 1988 - 2001
                                              3
      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 21 of 31

Kenton L. Oliver, Continued

1991 White House Conference on Libraries and Information Services
  Kansas Alternate

Missouri Library Association
 President, 1987
 Member, 1981 - 1988

COMMUNITY ACTIVITIES

Rotary Club of Downtown Nashville 2012 – current

Southern Word Advisory Committee 2013 – current

Alignment Nashville Board of Directors 2017 – current

Leadership Nashville Graduate 2014 and Alumni
Belle Meade United Methodist Church, Belle Meade, TN
       Trustee, 2014 - 2016

Downtown Partnership, Nashville Tennessee
     Board of Directors, 2012 - current

Rotary Club of Jackson Township, Ohio
      Past President, current member
      Chair, Vintage Jackson (Major Annual Fundraiser), 2004 - 2008

Canton Museum of Art, Canton, Ohio
      Secretary, Board of Directors, 2008 - 2012

Church of the Lakes United Methodist Church, Canton, Ohio
      Member, Finance Committee, 2007-2008

Canton, Ohio Chamber of Commerce
      Graduate of Leadership Stark County, 2002
      Member, Local Government Committee

Overland Park South Rotary Club
      Paul Harris Fellow, 2000
      Chair, Corporate Woods Jazz Festival, 1998 - 2001




                                            4
Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 22 of 31




           EXHIBIT 2
                        Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 23 of 31


        Library Bill of Rights

        The American Library Association affirms that all libraries are forums for information and ideas, and that the
        following basic policies should guide their services.



        I. Books and other library resources should be provided for the interest, information, and enlightenment of
        all people of the community the library serves. Materials should not be excluded because of the origin,
        background, or views of those contributing to their creation.

        II. Libraries should provide materials and information presenting all points of view on current and historical
        issues. Materials should not be proscribed or removed because of partisan or doctrinal disapproval.

        III. Libraries should challenge censorship in the fulfillment of their responsibility to provide information and
        enlightenment.

        IV. Libraries should cooperate with all persons and groups concerned with resisting abridgment of free
        expression and free access to ideas.

        V. A person’s right to use a library should not be denied or abridged because of origin, age, background, or
        views.

        VI. Libraries which make exhibit spaces and meeting rooms available to the public they serve should make
        such facilities available on an equitable basis, regardless of the beliefs or affiliations of individuals or groups
        requesting their use.

        VII. All people, regardless of origin, age, background, or views, possess a right to privacy and confidentiality
        in their library use. Libraries should advocate for, educate about, and protect people’s privacy, safeguarding
        all library use data, including personally identifiable information.



        Adopted June 19, 1939, by the ALA Council; amended October 14, 1944; June 18, 1948; February 2, 1961;
        June 27, 1967; January 23, 1980; January 29, 2019.

        Inclusion of “age” reaffirmed January 23, 1996.



        Although the Articles of the Library Bill of Rights are unambiguous statements of basic principles that should
        govern the service of all libraries, questions do arise concerning application of these principles to specific
        library practices. See the documents designated by the Intellectual Freedom Committee as Interpretations
        of the Library Bill of Rights (http://www.ala.org/advocacy/intfreedom/librarybill/interpretations).




https://www.ala.org/advocacy/intfreedom/librarybill                                                                           1/1
Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 24 of 31




           EXHIBIT 3
                        Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 25 of 31


        Access to Library Resources and Services for Minors: An
        Interpretation of the Library Bill of Rights



        The American Library Association supports equal and equitable access to all library resources and services
        by users of all ages. Library policies and procedures that effectively deny minors equal and equitable access
        to all library resources and services available to other users is in violation of the American Library
        Association’s Library Bill of Rights. The American Library Association opposes all attempts to restrict access
        to library services, materials, and facilities based on the age of library users.

        Article V of the Library Bill of Rights states, “A person’s right to use a library should not be denied or
        abridged because of origin, age, background, or views.” The right to use a library includes free access to,
        and unrestricted use of, all the services, materials, and facilities the library has to offer. Every restriction on
        access to, and use of, library resources, based solely on the chronological age, apparent maturity,
        educational level, literacy skills, emancipatory or other legal status of users violates Article V. This includes
        minors who do not have a parent or guardian available to sign a library card application or permission slip.
        Unaccompanied youth experiencing homelessness should be able to obtain a library card regardless of
        library policies related to chronological age.

        School and public libraries are charged with the mission of providing services and resources to meet the
        diverse interests and informational needs of the communities they serve. Services, materials, and facilities
        that fulfill the needs and interests of library users at different stages in their personal development are a
        necessary part of providing library services and should be determined on an individual basis. Equitable
        access to all library resources and services should not be abridged based on chronological age, apparent
        maturity, educational level, literacy skills, legal status, or through restrictive scheduling and use policies.

        Libraries should not limit the selection and development of library resources simply because minors will
        have access to them. A library’s failure to acquire materials on the grounds that minors may be able to
        access those materials diminishes the credibility of the library in the community and restricts access for all
        library users.

        Children and young adults unquestionably possess First Amendment rights, including the right to receive
        information through the library in print, sound, images, data, social media, online applications, games,
                                                          1
        technologies, programming, and other formats. Constitutionally protected speech cannot be suppressed
        solely to protect children or young adults from ideas or images a legislative body believes to be unsuitable
                    2
        for them. Libraries and their library governing bodies should not resort to age restrictions in an effort to
        avoid actual or anticipated objections, because only a court of law can determine whether or not content is
        constitutionally protected.

        Article VII of the Library Bill of Rights states, “All people, regardless of origin, age, background, or views,
        possess a right to privacy and confidentiality in their library use.” This includes students and minors, who
                                                                                                                 3
        have a right to be free from any unreasonable intrusion into or surveillance of their lawful library use.

        The mission, goals, and objectives of libraries cannot authorize libraries and their governing bodies to
        assume, abrogate, or overrule the rights and responsibilities of parents and guardians. As “Libraries: An
        American Value” states, “We affirm the responsibility and the right of all parents and guardians to guide their
                                                                          4
        own children’s use of the library and its resources and services.” Libraries and their governing bodies

https://www.ala.org/advocacy/intfreedom/librarybill/interpretations/minors#:~:text=Article VII of the Library,or surveillance of their lawful   1/2
                        Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 26 of 31
        cannot assume the role of parents or the functions of parental authority in the private relationship between
        parent and child. Libraries and their governing bodies shall ensure that only parents and guardians have the
        right and the responsibility to determine their children’s—and only their children’s—access to library
        resources. Parents and guardians who do not want their children to have access to specific library services,
        materials, or facilities should so advise their own children. Libraries and library governing bodies should not
        use rating systems to inhibit a minor’s access to materials.5

        Libraries and their governing bodies have a legal and professional obligation to ensure that all members of
        the communities they serve have free and equitable access to a diverse range of library resources and
        services that is inclusive, regardless of content, approach, or format. This principle of library service applies
        equally to all users, minors as well as adults. Lack of access to information can be harmful to minors.
        Libraries and their governing bodies must uphold this principle in order to provide adequate and effective
        service to minors.


        1
            Brown v. Entertainment Merchant’s Association, et al. 564 U.S. 08-1448 (2011).
        2
          Erznoznik v. City of Jacksonville, 422 U.S. 205 (1975): “Speech that is neither obscene as to youths nor
        subject to some other legitimate proscription cannot be suppressed solely to protect the young from ideas or
        images that a legislative body thinks unsuitable for them. In most circumstances, the values protected by the
        First Amendment are no less applicable when government seeks to control the flow of information to
        minors.” See also Tinker v. Des Moines School Dist., 393 U.S.503 (1969); West Virginia Bd. of Ed. v.
        Barnette, 319 U.S. 624 (1943); AAMA v. Kendrick, 244 F.3d 572 (7th Cir. 2001).
        3
          “Privacy: An Interpretation of the Library Bill of Rights
        (http://www.ala.org/advocacy/intfreedom/librarybill/interpretations/privacy),” adopted June 19, 2002, by the
        ALA Council; amended July 1, 2014; and June 24, 2019.
        4
         “Libraries: An American Value (http://www.ala.org/advocacy/intfreedom/americanvalue),” adopted on
        February 3, 1999, by ALA Council.
        5
          “Rating Systems: An Interpretation of the Library Bill of Rights
        (http://www.ala.org/advocacy/intfreedom/librarybill/interpretations/rating-systems),” adopted on June 30,
        2015, by ALA Council; amended June 25, 2019.



        Adopted June 30, 1972, by the ALA Council; amended July 1, 1981; July 3, 1991; June 30, 2004; July 2,
        2008 under previous name "Free Access to Libraries for Minors"; July 1, 2014; and June 25, 2019.




https://www.ala.org/advocacy/intfreedom/librarybill/interpretations/minors#:~:text=Article VII of the Library,or surveillance of their lawful   2/2
Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 27 of 31




           EXHIBIT 4
                      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 28 of 31


       The Freedom to Read Statement

       The freedom to read is essential to our democracy. It is continuously under attack. Private groups and public
       authorities in various parts of the country are working to remove or limit access to reading materials, to
       censor content in schools, to label "controversial" views, to distribute lists of "objectionable" books or
       authors, and to purge libraries. These actions apparently rise from a view that our national tradition of free
       expression is no longer valid; that censorship and suppression are needed to counter threats to safety or
       national security, as well as to avoid the subversion of politics and the corruption of morals. We, as
       individuals devoted to reading and as librarians and publishers responsible for disseminating ideas, wish to
       assert the public interest in the preservation of the freedom to read.

       Most attempts at suppression rest on a denial of the fundamental premise of democracy: that the ordinary
       individual, by exercising critical judgment, will select the good and reject the bad. We trust Americans to
       recognize propaganda and misinformation, and to make their own decisions about what they read and
       believe. We do not believe they are prepared to sacrifice their heritage of a free press in order to be
       "protected" against what others think may be bad for them. We believe they still favor free enterprise in
       ideas and expression.

       These efforts at suppression are related to a larger pattern of pressures being brought against education,
       the press, art and images, films, broadcast media, and the Internet. The problem is not only one of actual
       censorship. The shadow of fear cast by these pressures leads, we suspect, to an even larger voluntary
       curtailment of expression by those who seek to avoid controversy or unwelcome scrutiny by government
       officials.

       Such pressure toward conformity is perhaps natural to a time of accelerated change. And yet suppression is
       never more dangerous than in such a time of social tension. Freedom has given the United States the
       elasticity to endure strain. Freedom keeps open the path of novel and creative solutions, and enables
       change to come by choice. Every silencing of a heresy, every enforcement of an orthodoxy, diminishes the
       toughness and resilience of our society and leaves it the less able to deal with controversy and difference.

       Now as always in our history, reading is among our greatest freedoms. The freedom to read and write is
       almost the only means for making generally available ideas or manners of expression that can initially
       command only a small audience. The written word is the natural medium for the new idea and the untried
       voice from which come the original contributions to social growth. It is essential to the extended discussion
       that serious thought requires, and to the accumulation of knowledge and ideas into organized collections.

       We believe that free communication is essential to the preservation of a free society and a creative culture.
       We believe that these pressures toward conformity present the danger of limiting the range and variety of
       inquiry and expression on which our democracy and our culture depend. We believe that every American
       community must jealously guard the freedom to publish and to circulate, in order to preserve its own
       freedom to read. We believe that publishers and librarians have a profound responsibility to give validity to
       that freedom to read by making it possible for the readers to choose freely from a variety of offerings.

       The freedom to read is guaranteed by the Constitution. Those with faith in free people will stand firm on
       these constitutional guarantees of essential rights and will exercise the responsibilities that accompany
       these rights.

       We therefore affirm these propositions:

https://www.ala.org/advocacy/intfreedom/freedomreadstatement#:~:text=The freedom to read is guaranteed by the Constitution.,responsibilities that ac… 1/4
                      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 29 of 31
              1. It is in the public interest for publishers and librarians to make available the widest diversity of views
                 and expressions, including those that are unorthodox, unpopular, or considered dangerous by the
                 majority.

                 Creative thought is by definition new, and what is new is different. The bearer of every new thought
                 is a rebel until that idea is refined and tested. Totalitarian systems attempt to maintain themselves in
                 power by the ruthless suppression of any concept that challenges the established orthodoxy. The
                 power of a democratic system to adapt to change is vastly strengthened by the freedom of its
                 citizens to choose widely from among conflicting opinions offered freely to them. To stifle every
                 nonconformist idea at birth would mark the end of the democratic process. Furthermore, only
                 through the constant activity of weighing and selecting can the democratic mind attain the strength
                 demanded by times like these. We need to know not only what we believe but why we believe it.

              2. Publishers, librarians, and booksellers do not need to endorse every idea or presentation they make
                 available. It would conflict with the public interest for them to establish their own political, moral, or
                 aesthetic views as a standard for determining what should be published or circulated.

                 Publishers and librarians serve the educational process by helping to make available knowledge and
                 ideas required for the growth of the mind and the increase of learning. They do not foster education
                 by imposing as mentors the patterns of their own thought. The people should have the freedom to
                 read and consider a broader range of ideas than those that may be held by any single librarian or
                 publisher or government or church. It is wrong that what one can read should be confined to what
                 another thinks proper.

              3. It is contrary to the public interest for publishers or librarians to bar access to writings on the basis of
                 the personal history or political affiliations of the author.

                 No art or literature can flourish if it is to be measured by the political views or private lives of its
                 creators. No society of free people can flourish that draws up lists of writers to whom it will not listen,
                 whatever they may have to say.

              4. There is no place in our society for efforts to coerce the taste of others, to confine adults to the
                 reading matter deemed suitable for adolescents, or to inhibit the efforts of writers to achieve artistic
                 expression.

                 To some, much of modern expression is shocking. But is not much of life itself shocking? We cut off
                 literature at the source if we prevent writers from dealing with the stuff of life. Parents and teachers
                 have a responsibility to prepare the young to meet the diversity of experiences in life to which they
                 will be exposed, as they have a responsibility to help them learn to think critically for themselves.
                 These are affirmative responsibilities, not to be discharged simply by preventing them from reading
                 works for which they are not yet prepared. In these matters values differ, and values cannot be
                 legislated; nor can machinery be devised that will suit the demands of one group without limiting the
                 freedom of others.

              5. It is not in the public interest to force a reader to accept the prejudgment of a label characterizing
                 any expression or its author as subversive or dangerous.




https://www.ala.org/advocacy/intfreedom/freedomreadstatement#:~:text=The freedom to read is guaranteed by the Constitution.,responsibilities that ac… 2/4
                      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 30 of 31
                 The ideal of labeling presupposes the existence of individuals or groups with wisdom to determine
                 by authority what is good or bad for others. It presupposes that individuals must be directed in
                 making up their minds about the ideas they examine. But Americans do not need others to do their
                 thinking for them.

              6. It is the responsibility of publishers and librarians, as guardians of the people's freedom to read, to
                 contest encroachments upon that freedom by individuals or groups seeking to impose their own
                 standards or tastes upon the community at large; and by the government whenever it seeks to
                 reduce or deny public access to public information.

                 It is inevitable in the give and take of the democratic process that the political, the moral, or the
                 aesthetic concepts of an individual or group will occasionally collide with those of another individual
                 or group. In a free society individuals are free to determine for themselves what they wish to read,
                 and each group is free to determine what it will recommend to its freely associated members. But no
                 group has the right to take the law into its own hands, and to impose its own concept of politics or
                 morality upon other members of a democratic society. Freedom is no freedom if it is accorded only
                 to the accepted and the inoffensive. Further, democratic societies are more safe, free, and creative
                 when the free flow of public information is not restricted by governmental prerogative or self-
                 censorship.

              7. It is the responsibility of publishers and librarians to give full meaning to the freedom to read by
                 providing books that enrich the quality and diversity of thought and expression. By the exercise of
                 this affirmative responsibility, they can demonstrate that the answer to a "bad" book is a good one,
                 the answer to a "bad" idea is a good one.

                 The freedom to read is of little consequence when the reader cannot obtain matter fit for that
                 reader's purpose. What is needed is not only the absence of restraint, but the positive provision of
                 opportunity for the people to read the best that has been thought and said. Books are the major
                 channel by which the intellectual inheritance is handed down, and the principal means of its testing
                 and growth. The defense of the freedom to read requires of all publishers and librarians the utmost
                 of their faculties, and deserves of all Americans the fullest of their support.

       We state these propositions neither lightly nor as easy generalizations. We here stake out a lofty claim for
       the value of the written word. We do so because we believe that it is possessed of enormous variety and
       usefulness, worthy of cherishing and keeping free. We realize that the application of these propositions may
       mean the dissemination of ideas and manners of expression that are repugnant to many persons. We do
       not state these propositions in the comfortable belief that what people read is unimportant. We believe
       rather that what people read is deeply important; that ideas can be dangerous; but that the suppression of
       ideas is fatal to a democratic society. Freedom itself is a dangerous way of life, but it is ours.



       This statement was originally issued in May of 1953 by the Westchester Conference of the American Library
       Association and the American Book Publishers Council, which in 1970 consolidated with the American
       Educational Publishers Institute to become the Association of American Publishers.

       Adopted June 25, 1953, by the ALA Council and the AAP Freedom to Read Committee; amended January
       28, 1972; January 16, 1991; July 12, 2000; June 30, 2004.


https://www.ala.org/advocacy/intfreedom/freedomreadstatement#:~:text=The freedom to read is guaranteed by the Constitution.,responsibilities that ac… 3/4
                      Case 1:22-cv-00424-RP Document 22-8 Filed 05/09/22 Page 31 of 31
       A Joint Statement by:

       American Library Association (/)
       Association of American Publishers (http://www.publishers.org/)

       Subsequently endorsed by:

       American Booksellers for Free Expression (http://www.bookweb.org/abfe)
       The Association of American University Presses (http://www.aaupnet.org/)
       The Children's Book Council (http://www.cbcbooks.org/)
       Freedom to Read Foundation (http://www.ftrf.org)
       National Association of College Stores (http://www.nacs.org/)
       National Coalition Against Censorship (http://www.ncac.org/)
       National Council of Teachers of English (http://www.ncte.org/)
       The Thomas Jefferson Center for the Protection of Free Expression




https://www.ala.org/advocacy/intfreedom/freedomreadstatement#:~:text=The freedom to read is guaranteed by the Constitution.,responsibilities that ac… 4/4
